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                                                                          FILED
                                                                            MAY 11 2018
                  IN THE UNITED STATES DISTRICT COURT
                                                                       Clbrl<,trictl:J.S District Cour
                      FOR THE DISTRICT OF MONTANA                           IS M.Of Montana
                                                                                  ISSOu la
                           MISSOULA DIVISION



  In the Matter of the Search of:
                                                    MJ 18-10-M-JCL

  Content of and records relating to
  accounts meyonea0707@gmail.com,                    ORDER
  meyoneer@gmail.com and
  pimazon@gmail.com that are stored at
  premises controlled by Google, Inc.



      The warrant in the above-entitled matter having been executed and returned

- together with a copy of the certified inventory of the property seized - to the

undersigned, the Clerk of Court is directed to file the same.

      IT IS SO ORDERED.

             DATED this 1 ph day of May, 2



                                                er miah C. Lynch
                                               U ited States Magistrate Judge




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